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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


 MICHIGAN ASSOCIATION OF PUBLIC                     CIVIL ACTION NO.: 1:22-cv-00712
 SCHOOL ACADEMIES,

 &

 THOMAS B. FORDHAM INSTITUTE,

        Plaintiffs,

 v.

 U.S. DEPARTMENT OF EDUCATION,

 &

 MIGUEL CARDONA, U.S. SECRETARY
 OF EDUCATION

 &

 RUTH E. RYDER, DEPUTY ASSISTANT
 SECRETARY FOR POLICY AND
 PROGRAMS, OFFICE OF ELEMENTARY
 AND SECONDARY EDUCATION,

        Defendants.




      SUMMONS RETURNED EXECUTED AND DECLARATION OF SERVICE

       I, Kiren Mathews, declare as follows:

       I am a resident of Sacramento, am not a party to the above action, am 18 years old or older,

and am employed by Pacific Legal Foundation which is headquartered in Sacramento, California.

       On August 9, 2022, I served upon the following parties via U.S.P.S. Priority Mail (certified,

with return receipt requested), the Complaint, Proposed Summonses, Disclosure of Corporate

Affiliations and Financial Interest, Issued Summonses, and Notice of Judicial Assignment by

delivering the documents in a sealed envelope with postage fully paid to a Post Office in
                                                1
 Case 1:22-cv-00712-PLM-SJB ECF No. 8, PageID.54 Filed 08/17/22 Page 2 of 2



Sacramento, CA.



Mark Totten                                   Tracking No. 9402 8092 0212 1617 1801 99
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U.S. Department of Education
400 Maryland Avenue, SW
Washington, D.C. 20202

Ruth E. Ryder                              Tracking No. 9402 8092 0212 1617 1834 11
Deputy Assistant Secretary
U.S. Department of Education
400 Maryland Avenue, SW
Washington, D.C. 20202

U.S Department of Education                Tracking No. 9402 8092 0212 1617 1842 03
Department Of Education
400 Maryland Avenue, SW
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         Certified Mail Receipts with tracking numbers attesting to the mailing of these

  documents are attached as Exhibit A.

         I declare under penalty of perjury that the preceding is true and correct and that this

  declaration was executed this 16th day of August, 2022 in Sacramento, California.



                                                   s/ Kiren Mathews
                                                   Kiren Mathews


                                               1
